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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


ENTERTAINMENT ONE UK LTD.,

       Plaintiff,
                                                     Case No.:
v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                          COMPLAINT

        Plaintiff ENTERTAINMENT ONE UK LTD. (“eOne” or “Plaintiff”), by its undersigned

 counsel, hereby complains of the Partnerships and Unincorporated Associations identified on

 Schedule A attached hereto (collectively, “Defendants”), and for its Complaint hereby alleges as

 follows:

                                 JURISDICTION AND VENUE

        1.      This Court has original subject matter jurisdiction over the claims in this action

 pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq. 28 U.S.C. § 1338(a)–(b)

 and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

 the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

 so related to the federal claims that they form part of the same case or controversy and derive

 from a common nucleus of operative facts.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

 properly exercise personal jurisdiction over Defendants since each of the Defendants directly


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targets consumers in the United States, including Illinois, through at least the fully interactive

commercial Internet stores operating under the Defendant Domain Names and/or the Online

Marketplace Accounts identified in Schedule A attached hereto (collectively, the “Defendant

Internet Stores”). Specifically, Defendants are reaching out to do business with Illinois residents

by operating one or more commercial, interactive Internet Stores through which Illinois residents

can purchase products bearing counterfeit versions of Plaintiff’s trademark. Each of the

Defendants has targeted sales from Illinois residents by operating online stores that offer

shipping to the United States, including Illinois, accept payment in U.S. dollars and, on

information and belief, has sold products bearing counterfeit versions of Plaintiff’s federally

registered trademark to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff substantial

injury in the State of Illinois.

                                        INTRODUCTION

        3.      This action has been filed by Plaintiff to combat online counterfeiters who trade

upon Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection

with Plaintiff’s PJ MASKS trademark, which is covered by U.S. Trademark Registration No.

4,815,385 (“PJ MASKS”). The Registration is valid, subsisting, and in full force and effect. A

true and correct copy of the federal trademark registration certificate for the mark is attached

hereto as Exhibit 1.

        4.      The Defendants create numerous Defendant Internet Stores and design them to

appear to be selling genuine Plaintiff products, while selling inferior imitations of Plaintiff’s

products. The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the counterfeit products offered for sale, establishing a logical relationship between



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them and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by going

to great lengths to conceal both their identities and the full scope and interworking of their illegal

counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’ counterfeiting

of Plaintiff’s registered trademark, as well as to protect unknowing consumers from purchasing

unauthorized PJ MASKS products over the Internet. Plaintiff has been and continues to be

irreparably damaged through consumer confusion, dilution, and tarnishment of its valuable

trademark as a result of Defendants’ actions and seeks injunctive and monetary relief.

        5.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this Judicial District, and the acts and events

giving rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois

and in this Judicial District. In addition, each defendant has offered to sell and ship infringing

products into this Judicial District.

                                        THE PLAINTIFF

6.      Plaintiff, ENTERTAINMENT ONE UK LTD., is a Limited company having its principal

place of business in the United Kingdom. It is associated with PJ MASKS, an animated

children’s television series based on the Les Pyjamasques book by Romuald Racioppo.

ENTERTAINMENT ONE UK LTD is the producer of PJ Masks.

        7.      Since the initial launch of its original PJ MASKS brand products, the PJ MASKS

trademark is and has been the subject of substantial and continuous marketing and promotion by

Plaintiff. Plaintiff has and continues to widely market and promote its PJ MASKS trademark in

the industry and to consumers. Plaintiff’s promotional efforts include — by way of example but




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not limitation — substantial print media, the PJ MASKS website and social media sites, point of

sale materials.

        8.        The PJ MASKS trademark is distinctive and identifies the merchandise as goods

from Plaintiff. The registration for the PJ MASKS trademark constitute prima facie evidence of

their validity and of Plaintiff’s exclusive right to use the PJ MASKS trademark pursuant to 15

U.S.C. § 1057 (b).

       9.         The PJ MASKS trademark qualifies as a famous mark, as that term is used in 15

U.S.C. §1125 (c)(1), and has been continuously used and never abandoned.

        10.       Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the PJ MASKS trademark. As a result, products bearing

the PJ MASKS trademark are widely recognized and exclusively associated by consumers, the

public, and the trade as being products sourced from Plaintiff.

                                          THE DEFENDANTS

        11.       Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within Illinois and in this Judicial

District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell and, on information and belief, has sold and

continues to sell counterfeit PJ MASKS products to consumers within the United States,

including Illinois and in this Judicial District.




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                         THE DEFENDANTS’ UNLAWFUL CONDUCT

       12.     The success of the PJ MASKS brand has resulted in its counterfeiting. Plaintiff

has identified numerous domain names linked to fully interactive websites and marketplace

listings on platforms such as iOffer and Aliexpress, including the Defendant Internet Stores,

which were offering for sale, selling, and importing counterfeit PJ MASKS products to

consumers in this Judicial District and throughout the United States. Defendants have persisted

in creating the Defendant Internet Stores. Internet websites like the Defendant Internet Stores are

estimated to receive tens of millions of visits per year and to generate over $135 billion in annual

online sales. According to an intellectual property rights seizures statistics report issued by

Homeland Security, the manufacturer’s suggested retail price (MSRP) of goods seized by the

U.S. government in fiscal year 2013 was over $1.74 billion, up from $1.26 billion in 2012.

Internet websites like the Defendant Internet Stores are also estimated to contribute to tens of

thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax

revenue every year.

       13.     Upon information and belief, Defendants facilitate sales by designing the

Defendant Internet Stores so that they appear to unknowing consumers to be authorized online

retailers, outlet stores, or wholesalers selling genuine PJ MASKS products. Many of the

Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via credit cards,

Western Union and PayPal. Defendant Internet Stores often include images and design elements

that make it very difficult for consumers to distinguish such counterfeit sites from an authorized

website. Defendants further perpetuate the illusion of legitimacy by offering “live 24/7”

customer service and using indicia of authenticity and security that consumers have come to

associate with authorized retailers, including the McAfee® Security, VeriSign®, Visa®,



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MasterCard®, and PayPal® logos. Plaintiff has not licensed or authorized Defendants to use its

PJ MASKS trademark, and none of the Defendants are authorized retailers of genuine PJ

MASKS products.

       14.     Upon information and belief, Defendants also deceive unknowing consumers by

using the PJ MASKS trademark without authorization within the content, text, and/or meta tags of

their websites to attract various search engines crawling the Internet looking for websites relevant

to consumer searches for PJ MASKS products. Additionally, upon information and belief,

Defendants use other unauthorized search engine optimization (SEO) tactics and social media

spamming so that the Defendant Internet Stores listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine PJ MASKS products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new domain names to the top of

search results after others are shut down. As such, Plaintiff also seeks to disable Defendant

Domain Names owned by Defendants that are the means by which the Defendants could

continue to sell counterfeit PJ MASKS products.

       15.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their massive network of Defendant Internet

Stores. For example, many of Defendants’ names and physical addresses used to register the

Defendant Domain Names are incomplete, contain randomly typed letters, or fail to include cities

or states. Other Defendant Domain Names use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their



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identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

       16.     Even though Defendants operate under multiple fictitious names, there are numerous

similarities among the Defendant Internet Stores. For example, some of the Defendant websites

have virtually identical layouts, even though different aliases were used to register the respective

domain names. In addition, the counterfeit PJ MASKS products for sale in the Defendant Internet

Stores bear similarities and indicia of being related to one another, suggesting that the counterfeit PJ

MASKS products were manufactured by and come from a common source and that, upon

information and belief, Defendants are interrelated. The Defendant Internet Stores also include other

notable common features, including use of the same domain name registration patterns, unique

shopping cart platforms, accepted payment methods, check-out methods, meta data, illegitimate

SEO tactics, HTML user-defined variables, domain redirection, lack of contact information,

identically or similarly priced items and volume sales discounts, similar hosting services, similar

name servers, and the use of the same text and images.

       17.     In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products in

small quantities via international mail to minimize detection by U.S. Customs and Border

Protection. A 2012 U.S. Customs and Border Protection report on seizure statistics indicated that



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the Internet has fueled “explosive growth” in the number of small packages of counterfeit goods

shipped through the mail and express carriers.

       18.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Plaintiff’s enforcement efforts. Upon information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal accounts

to off-shore bank accounts outside the jurisdiction of this Court. Indeed, analysis of PayPal

transaction logs from previous similar cases indicates that offshore counterfeiters regularly move

funds from U.S.-based PayPal accounts to China-based bank accounts outside the jurisdiction of

this Court.

       19.     Defendants, without any authorization or license from Plaintiff, have knowingly

and willfully used and continue to use the PJ MASKS trademark in connection with the

advertisement, distribution, offering for sale, and sale of counterfeit PJ MASKS products into the

United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the

United States, including Illinois, and, on information and belief, each Defendant has offered to

sell counterfeit PJ MASKS products into the United States, including Illinois.

       20.     Defendants’ use of the PJ MASKS trademark in connection with the advertising,

distribution, offering for sale, and sale of counterfeit PJ MASKS products, including the sale of

counterfeit PJ MASKS products into Illinois, is likely to cause and has caused confusion,

mistake, and deception by and among consumers and is irreparably harming Plaintiff.




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                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       21.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       22.     This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered PJ MASKS trademark

in connection with the sale, offering for sale, distribution, and/or advertising of infringing goods.

The PJ MASKS trademark is highly distinctive marks. Consumers have come to expect the

highest quality from Plaintiff’s products provided under the PJ MASKS trademark.

       23.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products in connection

with the PJ MASKS trademark without Plaintiff’s permission.

       24.     Plaintiff is the exclusive owner of the PJ MASKS trademark. Plaintiff’s United

States Registration for the PJ MASKS trademark (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Plaintiff’s rights in the PJ MASKS

trademark, and are willfully infringing and intentionally using counterfeits of the PJ MASKS

trademark. Defendants’ willful, intentional and unauthorized use of the PJ MASKS trademark is

likely to cause and is causing confusion, mistake, and deception as to the origin and quality of

the counterfeit goods among the general public.

       25.     Defendants’     activities   constitute   willful   trademark     infringement     and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       26.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

well-known PJ MASKS trademark.


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27.      The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell,

and sale of counterfeit PJ MASKS products.


                                   COUNT II
                  FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

         28.   Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

         29.   Defendants’ promotion, marketing, offering for sale, and sale of counterfeit PJ

MASKS products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Plaintiff or the origin,

sponsorship, or approval of Defendants’ counterfeit PJ MASKS products by Plaintiff.

         30.   By using the PJ MASKS trademark in connection with the sale of counterfeit PJ

MASKS products, Defendants create a false designation of origin and a misleading

representation of fact as to the origin and sponsorship of the counterfeit PJ MASKS products.

         31.   Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the counterfeit PJ MASKS products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

         32.   Plaintiff has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its

brand.




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                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       33.     Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

       34.     Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their counterfeit PJ MASKS products as those of Plaintiff, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

PJ MASKS products, representing that their products have Plaintiff’s approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding

among the public.

       35.     The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       36.     Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.




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                                   PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

       1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

confederates, and all persons acting for, with, by, through, under, or in active concert with them

be temporarily preliminarily, and permanently enjoined and restrained from:

       a. using the PJ MASKS trademark or any reproductions, counterfeit copies, or colorable

           imitations thereof in any manner in connection with the distribution, marketing,

           advertising, offering for sale, or sale of any product that is not a genuine PJ MASKS

           product or is not authorized by Plaintiff to be sold in connection with the PJ MASKS

           trademark;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

           PJ MASKS product or any other product produced by Plaintiff that is not Plaintiff’s

           or not produced under the authorization, control, or supervision of Plaintiff and

           approved by Plaintiff for sale under the PJ MASKS trademark;

       c. committing any acts calculated to cause consumers to believe that Defendants’

           counterfeit PJ MASKS products are those sold under the authorization, control, or

           supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

           with Plaintiff;

       d. further infringing the PJ MASKS trademark and damaging Plaintiff’s goodwill;

       e. otherwise competing unfairly with Plaintiff in any manner;

       f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

           distributing, returning, or otherwise disposing of, in any manner, products or inventory

           not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered


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           for sale, and which bear any Plaintiff trademark, including the PJ MASKS trademark,

           or any reproductions, counterfeit copies, or colorable imitations thereof;

       g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

           Online Marketplace Accounts, the Defendant Domain Names, or any other domain

           name or online marketplace account that is being used to sell or is the means by which

           Defendants could continue to sell counterfeit PJ MASKS products; and

       h. operating and/or hosting websites at the Defendant Domain Names and any other domain

           names registered or operated by Defendants that are involved with the distribution,

           marketing, advertising, offering for sale, or sale of any product bearing the PJ MASKS

           trademark or any reproduction, counterfeit copy or colorable imitation thereof that is not

           a genuine PJ MASKS product or not authorized by Plaintiff to be sold in connection with

           the PJ MASKS trademark; and

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph

1, a through h, above;

       3) Entry of an Order that, at Plaintiff’s choosing, the registrant of the Defendant Domain

Names shall be changed from the current registrant to Plaintiff, and that the domain name

registries for the Defendant Domain Names, including, but not limited to, VeriSign, Inc.,

Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall

unlock and change the registrar of record for the Defendant Domain Names to a registrar of

Plaintiff’s selection, and that the domain name registrars take any steps necessary to transfer the




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Defendant Domain Names to a registrar of Plaintiff’s selection; or that the same domain name

registries shall disable the Defendant Domain Names and make them inactive and untransferable;

       4) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as iOffer and Alibaba

Group Holding Ltd., Alipay.com Co., Ltd. and any related Alibaba entities (collectively,

“Alibaba”), social media platforms, Facebook, YouTube, LinkedIn, Twitter, Internet search

engines such as Google, Bing and Yahoo, web hosts for the Defendant Domain Names, and

domain name registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit PJ MASKS products using the PJ MASKS

           trademark, including any accounts associated with the Defendants listed on Schedule

           A;

       b. disable and cease displaying any advertisements used by or associated with

           Defendants in connection with the sale of counterfeit PJ MASKS products using the

           PJ MASKS trademark; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Domain Names from any search index; and

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for

infringement of the PJ MASKS trademark be increased by a sum not exceeding three times the

amount thereof as provided by 15 U.S.C. § 1117;




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       6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the PJ MASKS trademark;

       7) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.


DATED: January 24, 2018                             Respectfully submitted,

                                                    /s/ Meghan Nugent
                                                    Meghan Nugent
                                                    SpencePC
                                                    405 N. Wabash, Suite P2E
                                                    Chicago, Illinois 60611
                                                    Telephone: 312-404-8882
                                                    E-mail: meghan.nugent@spencepc.com

                                                    ATTORNEY FOR PLAINTIFF
                                                    ENTERTAINMENT ONE UK, LTD.




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